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                             Exhibit 6
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Overview

Mark Musico is a sought-after trial and appellate lawyer in Susman Godfrey’s New York Office. His clients
include many of the country’s leading lights in industry, technology, and finance, including Fortune 500
conglomerate, General Electric; pioneering satellite communications company, Loral Space &
Communications; visionary macro investor, Louis Bacon; and prominent hedge fund, Saba Capital.


Musico rejoined Susman Godfrey in 2015 after clerking for Justice Ruth Bader Ginsburg on the United
States Supreme Court. Previously, he graduated first in his class from Columbia Law School and clerked
for Judge Michael Boudin on the U.S. Court of Appeals for the First Circuit and Judge Douglas P.
Woodlock on the U.S. District Court for the District of Massachusetts. These experiences equipped Mark
with a unique understanding of the workings of the bench.


Clients, both plaintiffs and defendants, look to Musico for winning insights in high-stakes disputes
involving intellectual property, defamation and the First Amendment, the False Claims Act, antitrust,
securities, insurance, breach of contract, and fraud. Some of his most notable representations include:


Wellstat Pharmaceuticals v. BTG (Delaware Chancery Court)


In 2017, Musico won a $70 million verdict for his client, Wellstat Pharmaceuticals (which received $58
million net of fees), in a bet-the-company lawsuit against the distributor of its leading product. He tried the
case in Delaware Chancery Court alongside firm founder, Steve Susman, as well as Harry Susman and
Cory Buland. Musico played an instrumental role in maximizing the client’s recovery by presenting
Wellstat’s damages expert at trial, convincing the court to exclude key testimony from defendant’s
damages expert, cross-examining defendant’s expert who tried to understate the market for Wellstat’s life-
saving drug, and cross-examining a defense witness who tried to shift the blame to Wellstat. Musico then
wrote the brief that convinced the Delaware Supreme Court to summarily affirm the judgment on appeal.


Public Sector Pension Investment Board v. Saba Capital (New York Supreme Court)


Musico, together with Jacob Buchdahl and Arun Subramanian, represented hedge fund Saba Capital, and
its founder, Boaz Weinstein, in an asset valuation dispute with its investor, PSP. Musico led the strategic
effort to chip away at plaintiff’s claims against Saba, and successfully briefed motions leading the court to
dismiss three of the four claims at issue. The case settled while Saba’s summary judgment motion to
knock out plaintiff’s one remaining claim was pending. Read Forbes’ reporting on the settlement of this
high-stakes case: “A $116B Pension Fund Is Walking Back Incendiary Claims Against Boaz Weinstein’s

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Saba Capital.”


ViaSat v. SpaceSystems/Loral (Southern District of California)


In 2014, Musico went to trial to defend Loral Space & Communications and its subsidiary, Space
Systems/Loral, against allegations of patent infringement and breach of contract. Working with a team of
SG lawyers from around the country, Musico’s active role at trial included preparing and arguing the jury
instructions and presenting a defense witness. Musico also helped write the post-trial briefs that resulted
in the court ordering new trial on damages. The Court called the original damages award against the
defendants a “miscarriage of justice.”




Education
Columbia Law School (J.D., 2011)
Harvard University (B.A., magna cum laude, 2007)




Judicial Clerkship

Law Clerk to the Honorable Ruth Bader Ginsburg, Supreme Court of the United States


Law Clerk to the Honorable Michael Boudin, United States Court of Appeals for the First Circuit


Law Clerk to the Honorable Douglas P. Woodlock, United States District Court for the District of
Massachusetts




Honors and Distinctions

John Ordronaux Prize, Columbia Law School 2011 (First in Class)


James Kent Scholar, Columbia Law School 2009-2011


Articles Editor, Columbia Law Review




Professional Associations and Memberships

State of New York


United States District Court for the Southern District of New York


United States District Court for the Eastern District of New York




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LeGaL (LGBT Bar Association of Greater New York)




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